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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
JAMES HENSON,                                       *
                 Plaintiff,                         *
        v.                                          *     Civil Action No.: 1:18-cv-01102-ELH
NATURMED, INC., d/b/a                               *
INSTITUTE FOR VIBRANT LIVING.
                                                    *
                 Defendant.
*       *        *     *        *       *       *         *     *      *     *      *      *

                         JOINT PROPOSED SCHEDULING ORDER

        Plaintiff James Henson and Defendant NaturMed, Inc., d/b/a The Institute for Vibrant

Living, by their undersigned attorneys, hereby submit this Joint Proposed Scheduling Order as

follows:

                          EVENT                                            PROPOSED DATE

Defendants shall Answer or otherwise respond to                 On or before August 10, 2018
Complaint

Initial conference                                              August 22, 2018

Joinder of parties                                              October 15, 2018

Further amendment of pleadings                                  October 15, 2018

Plaintiff’s expert reports in support of class certification    November 1, 2018

Defendants’ expert reports in opposition to class               December 7, 2018
certification

Parties’ rebuttal reports regarding class certification         December 28, 2018

Discovery deadline for class issues                             January 18, 2019

Commencement of merits discovery                                January 18, 2019

Plaintiff’s motion for class certification and Daubert          February 15, 2019
motions on Defendant’s class experts
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                         EVENT                                          PROPOSED DATE

Plaintiff’s 26(a)(2) disclosures on merits issues           March 8, 2019

Defendant’s opposition to motion for class certification,   March 27, 2019
Defendant’s opposition to Plaintiff’s Daubert motions on
Defendant’s class experts, and Defendant’s Daubert
motions on Plaintiff’s class experts

Defendant’s 26(a)(2) disclosures on merits issues           April 12, 2019

Plaintiff’s reply in support of class certification and     April 17, 2019
Plaintiff’s opposition to Defendant’s Daubert motions

Plaintiff’s rebuttal 26(a)(2) disclosures                   April 26, 2019

Defendant’s reply to Plaintiff’s opposition to Defendant’s May 8, 2019
Daubert motions

Class certification hearing and hearing on Daubert          To be determined
motions

Deadline for merits discovery                               May 31, 2019

Dispositive pretrial motions deadline                       June 28, 2019


Dated: August 27, 2018                        Respectfully submitted,


                                              /s/ Cheryl Zak Lardieri
                                              Linda S. Woolf
                                              Richard M. Barnes
                                              Cheryl Zak Lardieri
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                                              Attorneys for Defendant NaturMed, Inc.
                                              d/b/a The Institute for Vibrant Living




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                                             /s/ Charles H. Edwards IV
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                                             Attorney for Plaintiff James Henson



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of August 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sends electronic

notification of such filing to all CM/ECF participants.


                                             /s/ Cheryl Zak Lardieri
                                             Cheryl Zak Lardieri


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